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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

      In re:                                           §
                                                       §          Case No. 23-11007-cgb
      ARTIUSID, INC.,                                  §
                                                       §          Chapter 7
                       Alleged Debtor.                 §

           MOTION FOR ENLARGEMENT OF TIME TO FILE OMNIBUS REPLY TO
             OBJECTIONS TO DISMISSAL MOTION, TO EXCEED PAGE LIMIT,
                        AND TO SET STATUS CONFERENCE

               Artius.iD, Inc., by and through undersigned counsel and pursuant to Fed. R. Bankr. P. 9006

  and Local Rule 7007 of this Court, moves to extend the time to file a single Omnibus Reply to the

  several Objections to Consent Stipulation and Motion for Dismissal of Involuntary Petition Under

  Chapter 7 [Docket No. 88] (the “Dismissal Motion”)1 by fourteen (14) days, through and including

  September 26, 2024, for leave to exceed the 10-page limit for replies by filing an Omnibus Reply

  of not more than 25 pages, and for a non-evidentiary Status Conference to establish procedures

  governing further proceedings in this matter. In support of the requested relief, the Debtor relies

  upon the following facts and substantial matters of law.

               1.     On the late afternoon and into the late evening of September 5, undersigned counsel

  for Artius were served with three Objections directed to the Dismissal Motion,2 totaling almost

  200 pages with exhibits. Pursuant to Local Rule 7007(c), “a reply in support of a motion shall be




  1
   Capitalized terms used and not otherwise defined herein are intended to have the meaning set forth in the
  Dismissal Motion.
  2
    The three Objections (collectively, the “Objections”) are Collaborative Vision LLC’s Objection to
  Consent Stipulation and Motion for Dismissal of Involuntary Petition Under Chapter 7 [Doc. No. 99] (the
  “Collaborative Vision Objection), Objection to Consent Stipulation and Motion for Dismissal of
  Involuntary Petition Under Chapter 7 [Doc. No. 100] (the “US Trustee Objection”), and Trustee’s
  Response to Motion to Dismiss [Doc. No. 101] (the “Satija Objection”).
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  filed not later than 7 days after the filing of the response to the motion,” such that the current

  deadline to file a reply -- or actually three separate replies -- is September 12, 2024.

           2.       Given the length of the Objections and exhibits thereto and their attempt to

  introduce facts and evidence not previously placed before the Court, Artius requires additional

  time to prepare and file its reply, and accordingly seeks an enlargement of time through and

  including September 26, 2024.

           3.       Pursuant to Local Rule 7007 (c)(3) of this Court, “[a] reply in support of a

  dispositive motion is limited to 10 pages . . . unless otherwise authorized by the Court.” In the

  interests of efficiency and in order to avoid redundancy and the disjointed filing of three separate

  replies of up to 10 pages each, Artius proposes to file a single Omnibus Reply of not more than 25

  pages -- 5 pages less than the aggregate number of pages to which it is entitled under the foregoing

  Local Rule.

           4.       In addition, it appears from the Objections that the parties may be in disagreement

  about the legal effect of the Stay Order, and accordingly the standard by which the Court will

  evaluate the Dismissal Motion and Objections. Artius respectfully submits that the setting of a

  non-evidentiary status conference will assist the Court and parties to prepare for and focus their

  efforts at the evidentiary hearing to be held on the Dismissal Motion, Objection and Omnibus

  Reply.3 While that status conference can be held by Zoom, Artius respectfully requests that counsel

  and witnesses for all parties having the right to appear and be heard be required to appear in person

  in the courtroom for the evidentiary hearing.




  3
    Artius is aware of and appreciates the Court's setting of a status conference for Tuesday, September 10, and offers
  the suggestion of a further status conference after the filing of the Omnibus Reply if helpful to the Court to frame the
  issues for the final evidentiary hearing on the Dismissal Motion and Objections.


                                                             2
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         5.       On Friday, September 6 undersigned counsel for Artius has reached out by email

  to counsel for each of the parties that filed the Objections in an effort to obtain their consent to the

  procedural relief requested in this Motion; however as of the filing of this Motion, no definitive

  response has been received from any of those counsel

         WHEREFORE, Debtor artius.iD requests that the Court enter the annexed Order granting

  a fourteen (14)-day extension within which to file a single Omnibus Reply of not more than 25

  pages, exclusive of caption, signature block, any certificate, and accompanying documents,

  through and including September 26, 2024, and for the setting of a non-evidentiary status

  conference to be conducted via Zoom at a date and time convenient to the Court and parties.




                                                     3
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  Dated: September 9, 2024                   Respectfully Submitted,


                                             By: /s/ Mark D. Bloom
                                             Alexander D. Burch
                                             BAKER & McKENZIE LLP
                                             800 Capitol St., Suite 2100
                                             Houston, Texas 77002
                                             Telephone: (713) 427-5000
                                             Facsimile: (713) 427-5099
                                             alexander.burch@bakermckenzie.com

                                             -and-

                                             Mark Taylor
                                             BAKER & McKENZIE LLP
                                             1900 N. Pearl St., Suite 1500
                                             Dallas, Texas 75201
                                             Telephone: (214) 978-3000
                                             Facsimile: (214) 978-3099
                                             mark.taylor@bakermckenzie.com

                                             -and-

                                             Mark Bloom
                                             Pro Hac Vice (Pending)
                                             BAKER & McKENZIE LLP
                                             Sabadell Financial Center
                                             1111 Brickell Avenue
                                             10th Floor
                                             Miami, Florida 33131
                                             Telephone: (305 789 8927
                                             Facsimile: (305 789 8953
                                             mark.bloom@bakermckenzie.com

                                             Counsel for Debtor artuis.iD




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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on September 9, 2024, he caused a copy of the
  foregoing Debtor’s Motion for Enlargement of Time to File Omnibus Reply to Objections to
  Dismissal Motion to be served by the Electronic Case Filing System for the United States
  Bankruptcy Court for the Western District of Texas and on the parties listed below via First Class
  U.S. Mail.

                                               /s/ Mark D. Bloom
                                               Mark D. Bloom


  See attached Matrix




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Label Matrix for local noticing       ArtiusID, Inc. 1
                                                     9                     U.S. BANKRUPTCY COURT
0542-1                                 801 Barton Springs                   903 SAN JACINTO, SUITE 322
Case 23-11007-cgb                      Austin, TX 78704-1146                AUSTIN, TX 78701-2450
Western District of Texas
Austin

ArtiusID, Inc.                         ArtiusID, Inc.                       Collaborative Vision LLC
c/o Alexander D. Burch                 c/o Robert T. DeMarco                c/o Cokinos Young
BAKER & McKENZIE LLP                   DeMarcoMitchell, PLLC                1221 Lamar 16th FL
800 Capitol St., Suite 2100            12770 Coit Road, Suite 850           Houston TX 77010-3039
Houston, Texas 77002-2947              Dallas, TX 75251-1364

Collaborative Vision, LLC              Collaborative Vision, LLC            Collaborative Vision, LLC
c/o Emma P. Myles                      c/o Kell C. Mercer, PC               c/o Lynn Hamilton Butler
Cokinos Young                          901 S Mopac Expy Bldg 1 Ste 300      Husch Blackwell LLP
1221 Lamar Street, 16th Floor          Austin, TX 78746-5883                111 Congress Avenue, Suite 1400
Houston, Texas 77010-3039                                                   Austin, TX 78701-4093

Collaborative Vision, LLC              Goldstein Consulting Services, LLC   Rearc LLC
c/o Tres Gibbs                         c/o Michael T. Conway, Esq.          c/o Michael T. Conway, Esq.
Cokinos Young                          Lazare Potter Giacovas & Moyle LLP   Lazare Potter Giacovas & Moyle LLP
1221 Lamar, 16th Fl.                   747 Third Avenue, 16th Floor         747 Third Avenue, 16th Floor
Houston, Texas 77010-3039              New York, NY 10017-2856              New York, NY 10017-2856

Ron Satija, Chapter 7 Trustee          United States Trustee - AU12         Xmogrify
c/o Todd Headden                       United States Trustee                c/o Michael T. Conway, Esq.
Hayward PLLC                           903 San Jacinto Blvd, Suite 230      Lazare Potter Giacovas & Moyle LLP
7600 Burnet Road, Suite 530            Austin, TX 78701-2450                747 Third Avenue, 16th Floor
Austin, TX 78757-1269                                                       New York, NY 10017-2856

Alexander D. Burch                     Eric A Liepins                       Mark D. Bloom
Baker McKenzie LLP                     Legal Aid of Northwest Texas         Baker McKenzie LLP
700 Louisiana, Suite 3000              1515 Main Street                     1111 Brickell Ave
Houston, TX 77002-2871                 Dallas, TX 75201-4841                Ste 10th Floor
                                                                            Miami, FL 33131-3122

Robert T DeMarco III                   Ron Satija                           End of Label Matrix
Robert Demarco                         P.O. Box 660208                      Mailable recipients    19
12770 Coit Road                        Austin, TX 78766-7208                Bypassed recipients     0
Suite 850                                                                   Total                  19
Dallas, TX 75251-1364
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                                   EXHIBIT A
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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

   In re:                                         §           Case No. 23-11007-cgb
                                                  §
   ARTIUSID, INC.,                                §           Chapter 7
                                                  §
                   Alleged Debtor.                §

   ORDER GRANTING MOTION FOR ENLARGEMENT OF TIME TO FILE OMNIBUS
    REPLY TO OBJECTIONS TO DISMISSAL MOTION, TO EXCEED PAGE LIMIT,
                    AND TO SET STATUS CONFERENCE

            THIS MATTER came before the Court on _______, ________, 2024, upon Artius.iD’s

  Motion for Enlargement of Time to File Omnibus Reply to Objections to Dismissal Motion, to

  Exceed Page Limit, and to Set Status Conference [Docket No. ____] (“Motion”). By way of the

  Motion, Artius.iD seeks to extend the time to file a single Omnibus Reply to the several Objections

  to Consent Stipulation and Motion for Dismissal of Involuntary Petition Under Chapter 7 [Docket

  No. 88] (“Dismissal Motion”) by fourteen (14) days, through and including September 26, 2024,

  for leave to exceed the 10-page limit for replies by filing an Omnibus Reply of not more than 25
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  pages, and for a non-evidentiary Status Conference to establish procedures governing further

  proceedings in this matter. The Court having considered the Motion and otherwise being duly

  advised in the premises, it is hereby

          ORDERED AND ADJUDGED AS FOLLOWS:

          1.      Artius.iD’s Motion is hereby GRANTED.

          2.      Artius.iD may file a single Omnibus Reply of not more than 25 pages, exclusive of

  caption, signature block, any certificate, and accompanying documents, to the Objections to the

  Dismissal Motion by not later than September 26, 2024.

          3.      Following the submission of the Omnibus Reply, the Court may issue a further

  Order setting a non-evidentiary status conference to be conducted via Zoom at a date and time

  convenient to the Court and parties in interest.

                                                     ###

  Submitted by:
  Alexander D. Burch                                       -and-
  BAKER & McKENZIE LLP                                     Mark Bloom
  800 Capitol St., Suite 2100                              BAKER & McKENZIE LLP
  Houston, Texas 77002                                     Sabadell Financial Center
  Telephone: (713) 427-5000                                1111 Brickell Avenue
  Facsimile: (713) 427-5099                                10th Floor
  alexander.burch@bakermckenzie.com                        Miami, Florida 33131
  -and-                                                    Telephone: (305 789 8927
                                                           Facsimile: (305 789 8953
  Mark Taylor
                                                           mark.bloom@bakermckenzie.com
  BAKER & McKENZIE LLP
  1900 N. Pearl St., Suite 1500                            Counsel for Debtor ArtuisID
  Dallas, Texas 75201
  Telephone: (214) 978-3000
  Facsimile: (214) 978-3099
  mark.taylor@bakermckenzie.com




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